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August 5, 2022

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       Re:      PharmacyChecker.com LLC v. National Association of Boards of Pharmacy, et
                al. No. 19-cv-07577-KMK; Request to Conditionally Seal Defendants’ Filings
                Relating to Defendants’ Reply Briefing In Support of Defendants’ Motion for
                Summary Judgment and Motion to Exclude

Dear Judge Karas:

         We represent Defendant National Association of Boards of Pharmacy (“NABP”). This
letter is submitted on behalf of all Defendants pursuant to Section IX(A) of the Court’s Individual
Rules of Practice and the Stipulated Protective Order to request that certain confidential
information included in Defendants’ filings and accompanying exhibits relating to Defendants’
reply briefing in support of Defendants’ motion for summary judgment and motion to exclude,
filed contemporaneously herewith, be conditionally placed under seal. Specifically, Defendants
seek the following to conditionally be placed under seal:

             1. Defendants’ reply memorandum of law in support of Defendants’ joint motion for
                summary judgment on Sherman Act § 1 claim;
             2. Defendants’ reply statement of material facts in support of Defendants’ joint motion
                for summary judgment on Sherman Act § 1 claim;
             3. Exhibits DX 105, 106, 107, 108, 109, 110, 111, 114, 115, 119, 121, and 122 to
                Defendants’ reply statement of material facts in support of Defendants’ joint motion
                for summary judgment on Sherman Act § 1 claim;
             4. Declaration of Melanie M. Kiser, Esq. in support of Defendants’ joint motion for
                summary judgment on Sherman Act § 1 claim;
             5. Defendants’ reply memorandum of law in support of Defendants’ joint motion to
                exclude the expert testimony of Benjamin England, Esq.;
             6. Defendants’ pre-motion letter to strike portions of the declaration of Gabriel Levitt
                in opposition to Defendants’ joint motion for summary judgment on Sherman Act
                § 1 claim.

        Pursuant to paragraph 24 of the Stipulated Protective Order, Defendants have filed the
foregoing conditionally under seal because they contain “Protected Material” as defined by the
Stipulated Protective Order. Dkt. 181. The material includes documents, or information derived
from documents, designated as Confidential, Highly Confidential, or Outside Counsel Eyes Only
by Plaintiff PharmacyChecker.com LLC (“PCC”).
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      PCC, as the designating party, has the “obligation to file a motion to permanently seal the
documents pursuant to applicable rules.” Id. at 16.

        While there is a presumptive right of public access to judicial documents, that right is “not
absolute.” Mirlis v. Greer, 952 F.3d 51, 59 (2d Cir. 2020) (quoting Nixon v. Warner Commc’ns,
Inc., 435 U.S. 589, 599 (1978)). In evaluating whether to grant a sealing request, the court must
evaluate several factors: (1) whether the document qualifies as a judicial document; (2) the weight
of the presumption of public access; and (3) whether any countervailing factors or higher values
outweigh the right of public access to the judicial document. Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110, 119–20 (2d Cir. 2006).

        Conditional sealing of the above-referenced materials is appropriate in this instance. See,
e.g., GoSMiLE, Inc. v. Dr. Jonathan Levine, D.M.D. P.C., 769 F. Supp. 2d 630, 649–50 (S.D.N.Y.
2011) (allowing sealing of documents “contain[ing] highly proprietary [business] material”).


                                    Respectfully,




                                    Erik T. Koons
                                    Counsel for National Association of Boards of Pharmacy
